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                  EXHIBIT A
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 ARLEEN KOSAK, individually and
 on behalf of others similarly situated,

                    Plaintiff,

               v.                              Case No. 2:22-cv-11850
                                               Hon. Matthew F. Leitman
 NEW YORK MEDIA HOLDINGS,
 LLC,                                          Magistrate Judge Elizabeth A.
                                               Stafford
                    Defendant.


                DEFENDANT’S RESPONSE TO PLAINTIFF’S
                NOTICE OF SUPPLEMENTAL AUTHORITY




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                  STATEMENT OF ISSUES PRESENTED

 1.   Whether this Court should rely on the rulings in Gottsleben v. Informa Media,
      Inc., No. 1:22-cv-866, ECF No. 51 (W.D. Mich. July 7, 2023); and Schreiber
      v. Mayo Found. for Med. Educ. and Res., No. 2:22-cv-188, ECF No. 45 (W.D.
      Mich. July 13, 2023), as persuasive authority in deciding NYMH’s Motion to
      Dismiss (ECF No. 16) or Plaintiff’s Motion for Leave to Amend to File a
      Second Amended Complaint (ECF No. 17)?

      Defendant’s Answer: No.




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 STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY

 The controlling or most appropriate authority for this Motion includes:

       1.    Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).

       2.    Ashcroft v. Iqbal, 556 U.S. 662 (2009).

       3.    Gottsleben v. Informa Media, Inc., No. 1:22-cv-866, ECF No. 51 (W.D.
             Mich. July 7, 2023).

       4.    Schreiber v. Mayo Found. for Med. Educ. and Res., No. 2:22-cv-188,
             ECF No. 45 (W.D. Mich. July 13, 2023).

       5.    Nashel v. The New York Times Co., No. 2:22-cv-10633, 2022 WL
             6775657 (E.D. Mich. Oct. 11, 2022).




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       NYMH1 submits this response to Plaintiff’s Notice of Supplemental

 Authority, filed on July 27, 2023 (ECF No. 27) (the “Notice”), regarding Gottsleben

 v. Informa Media, Inc., No. 1:22-cv-866, ECF No. 51 (W.D. Mich. July 7, 2023) and

 Schreiber v. Mayo Foundation For Med. Educ. And Res., No. 2:22-cv-188, ECF No.

 45 (W.D. Mich. July 13, 2023). The Gottsleben court erred in finding that a Michigan

 state procedural rule—which tolled deadlines during the COVID-19 pandemic—

 saved the plaintiff’s stale claims. Further, Gottsleben and Schreiber, both decided

 by the same judge, erroneously credited vague, conclusory, information and belief

 allegations. Accordingly, the Court should not follow Gottsleben or Schreiber.

                                      ARGUMENT

I.   Gottsleben Erroneously Applies Michigan COVID-19 Tolling Orders.

       Gottsleben erroneously allowed the plaintiff’s untimely claim to proceed

 based on long-expired Michigan Supreme Court administrative orders that tolled

 filing deadlines in Michigan state courts for 102 days in 2020 at the height of the

 COVID-19 pandemic (the “Orders”). No. 1:22-cv-866, ECF No. 51 at PageID.1798-

 1801. The Orders were wrongly applied in Gottsleben for at least the following two

 reasons:




 1
   Abbreviations herein have the same meanings ascribed to them in NYMH’s
 pending motion to dismiss the FAC. (ECF No. 16).


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       First, the court in Gottsleben found the Orders applicable to the plaintiff’s

 September 2023 claim, in direct contravention of the plain language of the Orders.

 The Orders explicitly extended only Michigan state court deadlines that fell during

 the Governor of Michigan’s COVID-19-related state of emergency in 2020. See ECF

 No. 18 at PageID.1179-81.

       The Gottsleben court relied on a “binding” intermediate state court decision,

 Carter v. DTN Mgmt. Co., No. 360772, 2023 WL 439760 (Mich. Ct. App. Jan. 26,

 2023), in holding that it was required to find that the Orders extended the plaintiff’s

 filing deadline. Gottsleben, No. 1:22-cv-866, ECF No. 51 at PageID.1799. But that

 decision was not, in fact, binding on the court, and is not binding on this Court.

 Horizon Lawn Maint., Inc. v. Columbus-Kenworth, Inc., 188 F. Supp. 3d 631, 635

 (E.D. Mich. 2016) (Leitman, J.) (intermediate state court decisions “are not binding

 on federal courts.”) (NYMH’s Opp. to Plf’s Mot. for Leave to Amend, ECF No. 18,

 PageID.1691-92).

       Second, the Gottsleben court wrongly applied a state “procedural rule” to toll

 PPPA class claims. Carter, 2023 WL 439760, at *4 (finding that COVID-19 tolling

 “is plainly a procedural matter.”). In applying the Orders, the court found the Orders

 did not conflict with any federal rules and, therefore, to not apply the Orders “would

 result in an ‘inequitable administration of the law’ whereby Informa could escape

 from liability ‘solely because of the fortuity that there is diversity of citizenship


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  between the litigants.’” No. 1:22-cv-866, ECF No. 51 at PageID.1800-01 (citations

  and quotation marks omitted). But that’s not necessarily true. Plaintiff could have

  elected to file her claim on an individual basis in Michigan state court. The case is

  only proceeding in federal court because Plaintiff’s counsel elected to bring it as a

  class action, which could not have been brought in state court, as Michigan law bars

  class actions under statutes that, like the PPPA, do not expressly authorize them.

  M.C.R. 3.501(A)(5). The Plaintiff invoked federal jurisdiction through CAFA,

  which means this action is governed by the Federal Rules of Civil Procedure. State

  court procedures, such as those embodied in the COVID-19 Orders, do not apply.

  See Hanna v. Plumber, 380 U.S. 460, 465 (1965).

II.   Gottsleben and Schreiber Misapplied the Pleading Standard.

         The court erred in both Gottsleben and Schreiber by failing to properly apply

  the pleading standard set forth in Bell Atlantic Corp. v. Twombly, 550 U.S. 544

  (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). Gottsleben and Schreiber drew

  implausible inferences from the scant factual allegations in each complaint, contrary

  to Iqbal’s requirement that the plaintiff allege enough facts to support a “reasonable

  inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at

  663.

         For example, in Schreiber, the court implausibly inferred that the publisher

  unlawfully disclosed plaintiff’s data solely because third parties allegedly possessed


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 some subscribers’ information, even though disclosure is not per se prohibited by

 the PPPA, there are other sources of subscriber information available (as Plaintiff

 herself pleads here, ECF No. 6, PageID.546 at ¶¶ 25-27) and there were no

 allegations supporting plaintiff’s belief that his data was among that which was

 allegedly disclosed. Schreiber, No. 2:22-cv-188, ECF No. 45 at PageID.1460. And

 both Schreiber and Gottsleben held that “data cards” dated years before and after the

 relevant 2016 period, cobbled together with other allegations, were sufficient to infer

 disclosures in 2016. Schreiber, No. 2:22-cv-188, ECF No. 45 at PageID.1494-95;

 Gottsleben, No. 1:22-cv-866, ECF No. 51 at PageID.1801-03. And here, the

 allegations are different and not as detailed as in those cases. This Court should

 follow Nashel, which correctly declined to leap to similar conclusions and properly

 applied Iqbal and Twombly. Nashel v. The New York Times Co., No. 2:22-cv-10633,

 2022 WL 6775657, at *5 (E.D. Mich. Oct. 11, 2022). Because neither Gottsleben

 nor Schreiber properly applied Iqbal and Twombly, this Court should decline to

 follow them here.

                                       CONCLUSION

       NYMH respectfully requests that the Court decline to follow Gottsleben and

 Schreiber and grant NYMH’s motion to dismiss the FAC.

 Date: July 28, 2023                     Respectfully submitted,


                                          /s/ Kristen C. Rodriguez
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